 8:07-cr-00287-JFB-TDT        Doc # 69      Filed: 03/10/08   Page 1 of 1 - Page ID # 277




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
              Plaintiff,                       )
                                               )         8:07CR287
              v.                               )
                                               )
KHA MANH NGUYEN,                               )          ORDER
BICH NGUYEN, and                               )
LIEN NGUYEN, a/k/a Lynn Wynn,                  )
                                               )
              Defendants.                      )

       This matter is before the court on the motions of defendant Bich Nguyen to continue
jury trial (Filing Nos. 65 and 67) and to withdraw a motion to change venue (Filing No. 68).
The motions will be granted as set forth below:


       IT IS ORDERED:
       1.     Bich Nguyen’s motion to withdraw the motion to change venue (Filing No. 68)
is granted. That part of Filing No. 65 as it pertains to a change of venue is denied as moot.
       2.     Bich Nguyen’s motion to continue trial (Filing No. 67) is granted and trial will
be rescheduled following the expiration of the motion deadline as to any co-defendant or
the disposition of any pretrial motions by any co-defendant. Filing No. 65 as it pertains to
a continuance of trial is denied as moot.


       Dated this 10th day of March, 2008.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   U.S. Magistrate Judge
